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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                               CLARKSBURG


 ANTERO RESOURCES CORPORATION and
 ANTERO MIDSTREAM LLC,

             Plaintiff,

 v.                                         CIVIL ACTION NO. 1:20-cv-147
                                                      (KLEEH)

 BRADDOCK CONSTRUCTION, LLC,
 DAVID WEIMER, KRISTEN WEIMER,
 and JOHN DOE CORPORATIONS 1-10,

             Defendants,

 and

 BRADDOCK CONSTRUCTION, LLC,

             Third Party Plaintiff,

 v.

 SAFETY CONCERN INC., TIMOTHY
 SIVIC, JAMES MEYERS and
 DATA PROCESSAGENTS.COM, LLC,

             Third Party Defendants.


                                    ORDER

       The parties in this matter filed a Joint Motion to Vacate

 Scheduling Order [Dkt. No. 39].        For the reasons stated therein,

 the Court GRANTS the motion [Dkt. No. 39] to the extent that the

 remaining deadlines in the February 4, 2021, Scheduling Order [Dkt.

 No. 19] are STAYED pending further order of the Court.

       It is so ORDERED.
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       The Clerk is directed to transmit copies of this Order to all

 counsel of record herein.

 DATED: November 15, 2021


                                    /s/ Thomas S. Kleeh________
                                    THOMAS S. KLEEH
                                    UNITED STATES DISTRICT JUDGE
